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Attorneys for Plaintiff Idaho Republican Party

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,
Plaintiffs,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant

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Case No. 1:08-CV-00165-BLW

AFFIDAVIT OF
LENORE BARRETT

Lenore Barrett, being first duly sworn, deposes on oath and states:

1. lam nota party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

Affidavit of Lenore Barrett 4
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2. The reality of crossover voting in the primary hit home for me thanks to a
comment made during my 2008 campaign. We had an open forum discussion in
Salmon for the Primary because in that particular primary, | had a Republican
opponent, the first I’d had in many races.

3. Salmon has a small yet vocal contingent of Democrats, and many of them were
in attendance. | thought nothing of it and spoke my mind as | normally would. At
the close of this particular forum, a Democratic candidate who had no primary
Democratic opponent and would challenge a Republican in the General election
took the podium and spoke directly to the Democrats saying “to you Democrats
out there, since you don’t have a candidate in the primary, | recommend that you
vote in the Republican primary.”

4. Specifically addressing the support of a closed primary in a discussion | had in
Boise, one of my fellow “Republicans” said, “I can’t support a closed primary. If
not for cross over voting, | would not have been elected.”

FURTHER, AFFIANT SAYETH NOT.

Lenore Barrett

State of Idaho )
) ss.
County of Ada )

Subscribed and sworn to before me, a Notary Public in and for the State of Idaho
on this day of January, 2010.

Notary Public
My commission expires:
Residing At:

Affidavit of Lenore Barrett 2
World Wins Internationa! ZU0-50 2-404
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Residing At: . —_
base to

Affidavit of Lenore Barrett 2
Case 1:08-cv-00165-BLW Document 61-9 Filed 09/29/10 Page 4 of 4

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 19" day of January, 2010, | served a copy of
the foregoing Affidavit of Lenore Barrett by email transmission, addressed to the
following persons:

Gary Allen

Givens Pursley

P.O. Box 2720

Boise, Idaho 83701-2720
garyallen@givenspursley.com

Harry Kresky

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